              Case 2:18-cr-00131-RAJ Document 1457 Filed 09/22/20 Page 1 of 2




1                                                             The Honorable Richard A. Jones
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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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9
          UNITED STATES OF AMERICA,                        NO. CR18-131 RAJ
10
                               Plaintiff,
11                                                         ORDER GRANTING MOTION TO
                                                           SEAL EXHIBIT A TO
12
                                                           GOVERNMENT’S SURREPLY
                          v.
13                                                         TO DEFENDANT’S MOTION
                                                           FOR COMPASSIONATE
14
          CHARLES ROLAND CHEATHAM,                         RELEASE
15
                               Defendant.
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             This matter has come before the Court on the motion to seal Exhibit A to
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     Government’s Surreply (Dkt. # 1454) to Defendant’s Motion for Compassionate Release.
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     The Court has reviewed the motion and records in this case and finds there are compelling
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     reasons to permit the filing under seal of the Exhibit A to Government’s Surreply to
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     Defendant’s Motion for Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A),
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     due to the sensitive information contained therein.
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      Sealing Order - 1                                                  UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
      United States v. Cheatham, CR18-131 RAJ
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
             Case 2:18-cr-00131-RAJ Document 1457 Filed 09/22/20 Page 2 of 2




 1         IT IS HEREBY ORDERED that the United States' Motion to Seal (Dkt.
 2 #1455) is GRANTED. Exhibit A to the United States' Surreply shall remain under
 3 seal.
 4         DATED this 22nd day of September, 2020.
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                                                 A
                                                 _____________________________
                                                 RICHARD A. JONES
                                                 United States District Court Judge
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 9 Presented by:
10
   /s/ Vincent T. Lombardi
11 VINCENT T. LOMBARDI
   Assistant United States Attorney
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     Sealing Order - 2                                              UNITED STATES ATTORNEY
                                                                   700 STEWART STREET, SUITE 5220
     United States v. Cheatham, CR18-131 RAJ
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
